AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DAMON CIRCOSTA, in his official capacity as CHAIR OF THE STATE BOARD OF
                                           ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                                May 26, 2020


    /s/ Jamie L. Sheets


                  Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 1 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      DAMON CIRCOSTA, in his official capacity as CHAIR OF THE
         This summons for (name of individual and title, if any) STATE BOARD OF ELECTIONS
 was received by me on (date) May 26, 2020.                       .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

           u I returned the summons unexecuted because                                                                                ; or

           X
           u Other (specify):        I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the
                                     State of North Carolina, on May 28, 2020, upon representation from counsel that he is
                                     authorized to accept service on behalf of Mr. Circosta and that electronic service of the               .
                                     summons is acceptable.

           My fees are $        0                  for travel and $    0             for services, for a total of $            0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                            Server’s signature

                                                                                   Jeff Loperfido, Senior Counsel
                                                                                        Printed name and title

                                                                                Southern Coalition for Social Justice
                                                                                  1415 W. Highway 54, Ste. 101
                                                                                        Durham, NC 27707
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                    Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 2 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DAVID C. BLACK, in his official capacity as MEMBER OF THE STATE BOARD OF
                                           ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                                May 26, 2020


    /s/ Jamie L. Sheets


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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                            DAVID C. BLACK, in his official capacity as MEMBER OF THE
           This summons for (name of individual and title, if any)          STATE BOARD OF ELECTIONS
 was received by me on (date)           May 26, 2020                    .

           u I personally served the summons on the individual at (place)
                                                                                    on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                            , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                    on (date)                               ; or

           u I returned the summons unexecuted because                                                                                    ; or

           X Other (specify): I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General
           u
                                     for the State of North Carolina, on May 28, 2020, upon representation from counsel that                     .
                                     he is authorized to accept service on behalf of Mr. Black and that electronic service of the
                                     summons is acceptable.
           My fees are $         0                 for travel and $      0              for services, for a total of $             0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                                Server’s signature

                                                                                       Jeff Loperfido, Senior Counsel
                                                                                            Printed name and title

                                                                                    Southern Coalition for Social Justice
                                                                                      1415 W. Highway 54, Ste. 101
                                                                                            Durham, NC 27707
                                                                                                Server’s address

 Additional information regarding attempted service, etc:




                    Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 4 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                        )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                   )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                               )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 1:20CV457
                                                                        )
   THE NORTH CAROLINA STATE BOARD OF                                    )
  ELECTIONS; DAMON CIRCOSTA, in his official                            )
capacity as chair of the North Carolina State Board of                  )
                    Elections; et al.                                   )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) J. ERIC BOYETTE, in his official capacity as TRANSPORTATION SECRETARY
                                           ATTN: Beth Smith
                                           Transportation Building
                                           1 S. Wilmington Street
                                           1501 Mail Service Center
                                           Raleigh, NC 27699-1501


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                                                                                                                 May 26, 2020


   /s/ Jamie L. Sheets


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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      J. ERIC BOYETTE, in his official capacity as
           This summons for (name of individual and title, if any)    TRANSPORTATION SECRETARY
 was received by me on (date) May 26, 2020                            .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                               ; or

           u I returned the summons unexecuted because                                                                                 ; or

           X
           u Other (specify): I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the
                              State of North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to
                                                                                                                                              .
                              accept service on behalf of Mr. Boyette and that electronic service of the summons is acceptable.


           My fees are $                           for travel and $                   for services, for a total of $            0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                             Server’s signature

                                                                                    Jeff Loperfido, Senior Counsel
                                                                                          Printed name and title

                                                                                 Southern Coalition for Social Justice
                                                                                   1415 W. Highway 54, Ste. 101
                                                                                         Durham, NC 27707
                                                                                             Server’s address

 Additional information regarding attempted service, etc:




                    Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 6 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JEFF CARMON III, in his official capacity as MEMBER OF THE STATE BOARD OF
                                           ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                               May 26, 2020


   /s/ Jamie L. Sheets


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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                       JEFF CARMON III, in his official capacity as MEMBER OF THE
           This summons for (name of individual and title, if any) STATE BOARD OF ELECTIONS
 was received by me on (date)           May 26, 2020                   .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                          , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                               ; or

           u I returned the summons unexecuted because                                                                                  ; or

           X Other (specify): I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State of
           u
                              North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept .
                                     service on behalf of Mr. Carmon and that electronic service of the summons is acceptable.

           My fees are $         0                 for travel and $   0               for services, for a total of $             0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                              Server’s signature

                                                                                     Jeff Loperfido, Senior Counsel
                                                                                          Printed name and title

                                                                                  Southern Coalition for Social Justice
                                                                                    1415 W. Highway 54, Ste. 101
                                                                                          Durham, NC 27707
                                                                                              Server’s address

 Additional information regarding attempted service, etc:




                    Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 8 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KAREN BRINSON BELL, in her official capacity as EXECUTIVE DIRECTOR OF THE
                                           STATE BOARD OF ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                               May 26, 2020


    /s/ Jamie L. Sheets


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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      KAREN BRINSON BELL, in her official capacity as EXECUTIVE
           This summons for (name of individual and title, if any) DIRECTOR OF THE STATE BOARD OF ELECTIONS
 was received by me on (date)           May 26, 2020                  .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

           u I returned the summons unexecuted because                                                                                ; or

           X Other (specify):
           u
                                   I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State of
                                   North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept    .
                                   service on behalf of Ms. Bell and that electronic service of the summons is acceptable.

           My fees are $         0                 for travel and $   0              for services, for a total of $            0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                            Server’s signature

                                                                                   Jeff Loperfido, Senior Counsel
                                                                                        Printed name and title

                                                                                Southern Coalition for Social Justice
                                                                                  1415 W. Highway 54, Ste. 101
                                                                                        Durham, NC 27707
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                   Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 10 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KEN RAYMOND, in his official capacity as MEMBER OF THE STATE BOARD OF
                                           ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                                May 26, 2020


    /s/ Jamie L. Sheets


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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                           KEN RAYMOND, in his official capacity as MEMBER OF THE
         This summons for (name of individual and title, if any) STATE BOARD OF ELECTIONS
 was received by me on (date)  May 26, 2020                       .

           u I personally served the summons on the individual at (place)
                                                                                        on (date)                                ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                                ; or

           u I returned the summons unexecuted because                                                                                          ; or

           X Other (specify): I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State of North
           u
                                      Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept service on behalf of .Mr.
                                      Raymond and that electronic service of the summons is acceptable.


           My fees are $          0                 for travel and $         0               for services, for a total of $             0.00           .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                                    Server’s signature

                                                                                            Jeff Loperfido, Senior Counsel
                                                                                                 Printed name and title

                                                                                        Southern Coalition for Social Justice
                                                                                          1415 W. Highway 54, Ste. 101
                                                                                                Durham, NC 27707
                                                                                                    Server’s address

 Additional information regarding attempted service, etc:




                   Case 1:20-cv-00457-WO-JLW Document 6 Filed 05/29/20 Page 12 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 1:20CV457
                                                                      )
   THE NORTH CAROLINA STATE BOARD OF                                  )
  ELECTIONS; DAMON CIRCOSTA, in his official                          )
capacity as chair of the North Carolina State Board of                )
                    Elections; et al.                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MANDY COHEN, in her office capacity as SECRETARY OF HEALTH AND
                                           HUMAN SERVICES
                                           ATTN: Lisa G. Corbett, General Counsel
                                           Office of Legal Affairs
                                           2001 Mail Service Center
                                           Raleigh, NC 27699-2001
                                           Alternative Address:101 Blair Drive, Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                               May 26, 2020


   /s/ Jamie L. Sheets


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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      MANDY COHEN, in her office capacity as SECRETARY OF
           This summons for (name of individual and title, if any)    HEALTH AND HUMAN SERVICES
 was received by me on (date)           May 26, 2020                  .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                               ; or

           u I returned the summons unexecuted because                                                                                 ; or

           X
           u Other (specify):       I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the
                                    State of North Carolina, on May 28, 2020, upon representation from counsel that he is authorized
                                    to accept service on behalf of Ms. Cohen and that electronic service of the summons is acceptable.
                                                                                                                                              .


           My fees are $            0              for travel and $       0          for services, for a total of $             0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                             Server’s signature

                                                                                    Jeff Loperfido, Senior Counsel
                                                                                         Printed name and title

                                                                                 Southern Coalition for Social Justice
                                                                                   1415 W. Highway 54, Ste. 101
                                                                                         Durham, NC 27707
                                                                                             Server’s address

 Additional information regarding attempted service, etc:




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                     )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                            )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:20CV457
                                                                     )
   THE NORTH CAROLINA STATE BOARD OF                                 )
  ELECTIONS; DAMON CIRCOSTA, in his official                         )
capacity as chair of the North Carolina State Board of               )
                    Elections; et al.                                )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE NORTH CAROLINA STATE BOARD OF ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street, Suite 3128, Raleigh, NC 27603


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk

                                                                                                               May 26, 2020


   /s/ Jamie L. Sheets

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)     THE NORTH CAROLINA STATE BOARD OF ELECTIONS
 was received by me on (date)             May 26, 2020                .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                               ; or

           u I returned the summons unexecuted because                                                                                 ; or

           x Other (specify):
           u
                                    I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State of
                                                                                                                                          .
                                    North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept service
                                    on behalf of the N.C. State Board of Elections and that electronic service of the summons is acceptable.

           My fees are $             0             for travel and $       0          for services, for a total of $             0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                             Server’s signature

                                                                                    Jeff Loperfido, Senior Counsel
                                                                                         Printed name and title

                                                                                 Southern Coalition for Social Justice
                                                                                   1415 W. Highway 54, Ste. 101
                                                                                         Durham, NC 27707
                                                                                             Server’s address

 Additional information regarding attempted service, etc:




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 1:20CV457
                                                                      )
   THE NORTH CAROLINA STATE BOARD OF                                  )
  ELECTIONS; DAMON CIRCOSTA, in his official                          )
capacity as chair of the North Carolina State Board of                )
                    Elections; et al.                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE NORTH CAROLINA DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                           ATTN: Lisa G. Corbett, General Counsel
                                           Office of Legal Affairs
                                           2001 Mail Service Center
                                           Raleigh, NC 27699-2001
                                           Alternative Address:101 Blair Drive, Raleigh, NC 27603


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                               May 26, 2020


   /s/ Jamie L. Sheets


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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                      THE NORTH CAROLINA DEPARTMENT OF HEALTH AND
           This summons for (name of individual and title, if any)    HUMAN SERVICES
 was received by me on (date)            May 26, 2020                 .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           u I returned the summons unexecuted because                                                                              ; or

           X
           u Other (specify):       I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State of
                                    North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept service
                                                                                                                                        .
                                    on behalf of the N.C. Department of Health and Human Services and that electronic service of the
                                    summons is acceptable.
           My fees are $           0               for travel and $       0          for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                             Server’s signature

                                                                                 Jeff Loperfido, Senior Counsel
                                                                                         Printed name and title

                                                                              Southern Coalition for Social Justice
                                                                                1415 W. Highway 54, Ste. 101
                                                                                      Durham, NC 27707
                                                                                             Server’s address

 Additional information regarding attempted service, etc:




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                        )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                   )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                               )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 1:20CV457
                                                                        )
   THE NORTH CAROLINA STATE BOARD OF                                    )
  ELECTIONS; DAMON CIRCOSTA, in his official                            )
capacity as chair of the North Carolina State Board of                  )
                    Elections; et al.                                   )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE NORTH CAROLINA DEPARTMENT OF TRANSPORTATION
                                           ATTN: Beth Smith
                                           Transportation Building
                                           1 S. Wilmington Street
                                           1501 Mail Service Center
                                           Raleigh, NC 27699-1501


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                                                                                                                  May 26, 2020


    /s/ Jamie L. Sheets


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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)            THE NORTH CAROLINA DEPARTMENT OF TRANSPORTATION

 was received by me on (date)               May 26, 2020                  .

           u I personally served the summons on the individual at (place)
                                                                                      on (date)                                ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                                   , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                                ; or

           u I returned the summons unexecuted because                                                                                         ; or

           u Other (specify):
           X                         I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the State
                                     of North Carolina, on May 28, 2020, upon representation from counsel that he is authorized to accept
                                                                                                                                                       .
                                     service on behalf of the N.C. Department of Transportation and that electronic service of the
                                     summons is acceptable.

           My fees are $         0                 for travel and $           0            for services, for a total of $             0.00             .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                                  Server’s signature

                                                                                          Jeff Loperfido, Senior Counsel
                                                                                               Printed name and title

                                                                                      Southern Coalition for Social Justice
                                                                                        1415 W. Highway 54, Ste. 101
                                                                                              Durham, NC 27707
                                                                                                  Server’s address

 Additional information regarding attempted service, etc:




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Middle District
                                                    __________       of North
                                                               District       Carolina
                                                                         of __________

                                                                      )
 DEMOCRACY NORTH CAROLINA, THE LEAGUE                                 )
OF WOMEN VOTERS OF NORTH CAROLINA, et al.                             )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:20CV457
                                                                      )
    THE NORTH CAROLINA STATE BOARD OF                                 )
   ELECTIONS; DAMON CIRCOSTA, in his official                         )
   capacity as CHAIR OF THE STATE BOARD OF                            )
                 ELECTIONS; et al.                                    )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STELLA ANDERSON, in her official capacity as SECRETARY OF THE STATE
                                           BOARD OF ELECTIONS
                                           ATTN: Katelyn Love, Acting General Counsel
                                           P.O. Box 27255
                                           Raleigh, NC 27611-7255
                                           Alternative Address:
                                           430 N. Salisbury Street (3rd Floor), Raleigh, NC 27603

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Allison J. Riggs (State Bar #40028)
                                           Jeffrey Loperfido (State Bar #52939)
                                           Southern Coalition for Social Justice
                                           1415 West Highway 54, Suite 101
                                           Durham, NC 27707
                                           Tel: 919-323-3380      Fax: 919-323-3942

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                                May 26, 2020


    /s/ Jamie L. Sheets


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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                       STELLA ANDERSON, in her official capacity as SECRETARY OF
           This summons for (name of individual and title, if any)     THE STATE BOARD OF ELECTIONS
 was received by me on (date)            May 26, 2020                 .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

           u I returned the summons unexecuted because                                                                                ; or

           X
           u Other (specify):        I served the summons by electronic mail to Alec Peters, Chief Deputy Attorney General for the
                                     State of North Carolina, on May 28, 2020, upon representation from counsel that he is
                                                                                                                                             .
                                     authorized to accept service on behalf of Ms. Anderson and that electronic service of the
                                     summons is acceptable.
           My fees are $         0                 for travel and $   0              for services, for a total of $            0.00          .


           I declare under penalty of perjury that this information is true.


 Date: 5.29.2020
                                                                                            Server’s signature

                                                                                   Jeff Loperfido, Senior Counsel
                                                                                        Printed name and title

                                                                                Southern Coalition for Social Justice
                                                                                  1415 W. Highway 54, Ste. 101
                                                                                        Durham, NC 27707
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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